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              UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :
                                         :
                   v                     :        3:CR-19-208
WILLIAM L. COURTRIGHT                    :       (Judge Mannion)
                                         :
                         Defendant


                                   ORDER
      The court has received the Presentence Investigation Report prepared
by the U.S. Probation Office in the above captioned case. The court notes
that there are a number of outstanding objections to the contents of the
Presentence Report. In order to make an orderly resolution of those
objections, the parties will be directed to brief the issue of calculation of loss
as determination in paragraphs 46, 55 and 58 pursuant to, inter alia,
Application Notes 3 of the Commentary to both 2B1.1 and 2C1.1. The
briefing, in addition to binding case law from the Supreme Court and the Third
Circuit, should include reasonable estimates of those matters discussed
under 2B1.1 Application Note 3(E)(i) related to services rendered.
      Additionally, all other objections, except those contained in Paragraphs
5, (which is summarily granted); and paragraph 59, (which is summarily
denied), shall also be briefed.
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            In light of the foregoing, IT IS HEREBY ORDERED THAT:
            1)   The brief of the defendant will be filed on or before January 10,
                 2020;
            2)   The responsive brief of the United States will be filed on or before
                 January 24, 2020;
            3)   Reply briefs, if necessary by either party, will be filed on or before
                 January 31, 2020.
            4)   A determination of whether a hearing and evidence production will
                 be required will be determined following the court’s review of the
                 above submitted briefs.




                                             s/ Malachy E. Mannion
                                             MALACHY E. MANNION
                                             United States District Judge

Dated: December 17, 2019
19-208-02
